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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                               Magistrate Judge Kathleen M. Tafoya

  Civil Action No. 20–cv–01801–WJM–KMT


  JAN PODLACHA,

         Plaintiff,

  v.

  NICKLOS DOBROVLNY,

         Defendant.


                                                ORDER


         This matter is before the court on Plaintiff’s “Motion for Substituted Service” (Doc. No.

  13, filed June 23, 2020), to which Defendant filed its response (Doc. No. 15, filed June 25,

  2020), and Plaintiff filed his reply (Doc. No. 16, filed July 6, 2020).

         This action involves an automobile collision between vehicles operated by the parties on

  July 19, 2017. (See Doc. No. 2.) Plaintiff hired a process server to serve the Complaint and

  associated documents to Defendant at his last known address, 440 South Ave., E, Missoula, MT

  59801, as indicated on the accident report. (Doc. No. 13, ¶¶ 2-3.) Service could not be

  completed because Defendant no longer resides at this address. (Id., ¶ 4; Ex. 1.) Plaintiff does

  not know Defendant’s current residence or workplace. (Id., ¶ 4.)

         Plaintiff now moves to substitute service on Defendant’s insurer, pursuant to C.R.S. § 42-

  7-414(3)(a). (Id., ¶¶ 5-6.) In 2011, the Colorado Legislature created a type of substituted service

  by enacting a statute with provisions that require that insureds, under their motor-vehicle liability
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  policies, appoint their insurers as their agents for service of process. 11 Colo. Prac., Civil

  Procedure Forms & Commentary § 4:4 (3d ed.). The relevant statute reads as follows:

         The insurance carrier that issues a motor vehicle liability policy accepted as proof
         under this article shall include the following provision in the policy contract: “If
         the insured's whereabouts for service of process cannot be determined through
         reasonable effort, the insured agrees to designate and irrevocably appoint the
         insurance carrier as the agent of the insured for service of process, pleadings, or
         other filings in a civil action brought against the insured or to which the insured
         has been joined as a defendant or respondent in any Colorado court if the cause of
         action concerns an incident for which the insured can possibly claim coverage.
         Subsequent termination of the insurance policy does not affect the appointment
         for an incident that occurred when the policy was in effect. The insured agrees
         that any such civil action may be commenced against the insured by the service of
         process upon the insurance carrier as if personal service had been made directly
         on the insured. The insurance carrier agrees to forward all communications related
         to service of process to the last-known e-mail and mailing address of the
         policyholder in order to coordinate any payment of claims or defense of claims
         that are required.”

  C.R.S. § 42-7-414(3)(a).

         Defendant argues that substitute service under this statue is not appropriate

  because the insurance policy was not issued in Colorado, it was not issued to a Colorado

  insured, and does not contain language assigning AmTrust as his agent for service of

  process. (Doc. No. 14 at 3-4.) Upon a thorough review of the insurance policy, attached

  as Exhibit A, the court agrees with Defendant that the insurance policy is devoid of the

  language specified in C.R.S. § 42-7-414(3)(a) that may allow for substitute service on the

  insurer.

         Accordingly, it is

         ORDERED that Plaintiff’s “Motion for Substituted Service” (Doc. No. 13) is

  DENIED. It is further



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         ORDERED that Plaintiff is granted an extension to November 30, 2020, pursuant

  to Fed. R. Civ. P. 4(m), to locate and serve the defendant. If Plaintiff has not served the

  defendant by November 30, 2020, this court will recommend dismissal of this action

  without prejudice.

         Dated this 21st day of October, 2020.




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